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Delta LaW Group, A Professional Corporation
Jim G. Price, Esq., #119324
P.O. Box 1417
Brentwood, CA 94513
Telephone: 925-516-4686

Attorneys for Plaintiff SORINA PEREZ

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

 

 

SORlNA PEREZ CASE NUMBER
3:14-CV-OO44l-LB
Piaintiff(s),
v.
McKELLAR & ASSOCIATES GROUP, INC. NOTICE OF DISMISSAL PURSUANT
TO FEDERAL RULES OF CIVIL
Defendant(s). PROCEDURE 41(3) Or (C)

 

PLEASE TAKE NOTICE: (Check one)
M This action is dismissed by the Plaintiff(s) in its entirety.

[] The Counterclaim brought by Claimant(s) is
dismissed by Claimant(s) in its entirety.

|:| The Cross-Claim brought by Claimants(s) is
dismissed by the Claimant(s) in its entirety.

l:| The Third-party Claim brought by Claimant(s) is
dismissed by the Claimant(s) in its entirety.

l:| ONLY Defendant(s)

 

 

is/are dismissed from (chec/c one) |:| Complaint, [] Counterclaim, l`_'i Cross-claim, [:| Third-Party Claim
brought by

 

The dismissal is made pursuant to F.R.Civ.P. 41(3) or (c).

 

 

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october 1, 2014 , \\
Date Signalure ofA ttorney/Parlfy

NOTE: F.R.Civ.P. 41 (a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
summary judgment, whichever first occurs.

F.R.Civ.P. 41 (c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
pleading or prior to the beginning of trial.

 

CV~O9 (03/10) NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PR()CEDURE 4l(a) or (c)

